                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               NORTHERN DIVISION

                                       No. 2:19-CV-24-FL


 MICHAEL EDWARD BROOKS,                        )
                                               )
                        Plaintiff,             )
                                               )
                      v.                       )
                                               )                     ORDER
 ANDREW SAUL,                                  )
 Commissioner of Social Security,              )
                                               )
                        Defendant.             )



       This matter is before the court on the Memorandum and Recommendation (“M&R”) of

United States Magistrate Judge Robert T. Numbers, II, regarding the parties’ cross-motions for

judgment on the pleadings. No objections to the M&R have been filed, and the time within which

to make any objection has expired. This matter is ripe for ruling.

       Upon careful review of the M&R and of the record generally, having found no clear error,

the court hereby ADOPTS the recommendation of the magistrate judge as its own, and, for the

reasons stated therein, plaintiff’s motion is GRANTED, defendant’s motion is DENIED, and this

matter is REMANDED to defendant pursuant to sentence four of 42 U.S.C. § 405(g) for further

proceedings consistent with the M&R. The clerk of court is directed to close the case.

       SO ORDERED this the 12th day of January, 2021.


                                                            ______________________________
                                                            LOUISE W. FLANAGAN
                                                            United States District Judge




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